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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                        STATESBORO DIVISION


CHARLES ANTHONY WILLIS,                )



    Movant,                            )



V.                                     )    Case No. CV612-089
                                       )             CR606-026
UNITES STATES OF AMERICA,              )



     Respondent.                       )




                                  ORDER

      Let a copy of this Report and Recommendation be served upon movant and
counsel for respondent. Any objections to this Report and Recommendation must
be filed with the Clerk of Court not later than July 4, 2014. The Clerk shall
submit this Report and Recommendation together with any objections to the
Honorable B. Avant Edenfield, United States District Judge, on July 5, 2014.
Failure to file an objection within the specified time means that this Report and
Recommendation may become the opinion and order of the Court, Nettles v.
Wainwright, 677 F.2d 404 (5th Cir. 1982), and further waives the right to appeal
the District Courts Order. Thomas v. Am, 474 U.S. 140 (1985).
      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the District
Judge to whom this case is assigned.
      SO ORDERED this 20th day of June, 2014.


                                                                             JUDGE
                                                    SOU]IIEENDISTIUCT of GEORGIA
